           Case 3:10-cr-03749-BEN                     Document 92                 Filed 02/18/11            PageID.258              Page 1 of 3
                                                                                                                                    FILED
     'l>-,AQ 2458   (Rev. 9/00) Judgment in a Criminal Case                                                                         FEB 1 8 2011
                    Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                        v.                                          (For Offenses Committed On or After November I, 1987)

                           STEPHEN HELENA (4)                                       Case Number: IOCR3749-BEN

                                                                                    RICHARD 1. BOESEN
                                                                                    Defendant's Allomey
     REGISTRATION NO. 21851298
     ~ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
     THE DEFENDANT:
     lEI pleaded guilty to count(s) 4s OF THE SUPERSEDING INFORMATION.

     ~ wufuundg~l~oncoun«~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
           after a plea of not guilty.
           Accordingly. the defendant is adjudged guilty of such count{s), which involve the following offense(s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
21 USC 841 (a)(I)                     MANUFACTURE MARIJUANA (FELONY) AND AIDING AND ABETTING                                                   4s
AND 18 USC 2




            The defendant is sentenced u provided in pages 2 through _ _.....:3"--_ _ of this judgment. The sentence is imposed pursuant
    to the Sentencing Reform Act of 1984.

    ~      The defendant hu been found not guilty on count(s)._ _ _~~~~~~~~~~~~~~~~~~~~~_
    lEI Count(s) UNDERLYING INFORMATION                                      is   0 areDdismissed on the motion of the United States.
    lEI Assessment: $100.00


    ~ Fine ordered waived                    D Forfeiture pursuant to order filed                                       included herein.
              IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
     or mailing address until all tines, restitution, costs, and special usessments imposed by this judgment are fully paid. Ifordered to pay restitution. the
     defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                   FEBRUARY14, 2011




                                                                                   UNITED STATES DISTRICT JUDGE


                                                                                                               IOCR3749-BEN
       Case 3:10-cr-03749-BEN                         Document 92           Filed 02/18/11             PageID.259          Page 2 of 3

AO 2450       (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 2 Probation
                                                                                                         Judgment-Page     2     of     3
DEFENDANT: STEPHEN HELENA (4)                                                                     II
CASE NUMBER: IOCR3749-BEN
                                                                        PROBATION
The defendant is hereby sentenced to probation for a term of:
 FIVE (5) YEARS.

The defendant shall nol commit another federal. state. or local crime.
For offenses committed on or after September /3,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than       drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­
D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, ifapplicable.)

D The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet ofthis judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use ofa1cohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shaH not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shaH permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)    the defendant shaH not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer, the defendant shaH notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.


                                                                                                                                IOCR3749·BEN
           Case 3:10-cr-03749-BEN                              Document 92   Filed 02/18/11            PageID.260            Page 3 of 3


         A0245B      (Rev, 9/00) Judgment in a Criminal Case
                     Sheet 4 - Special Conditions
                                                                                                           Judgment-Page   - l . - of _~3_ _
         DEFENDANT: STEPHEN HELENA (4)                                                                II
         CASE NUMBER: IOCR3749-BEN




                                                 SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
o     Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
o     Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
      to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
  officer, if directed.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
o     Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
      probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within                   days.
181   Complete 150 hours of community service in a program approved by the probation officer within first two (2) years of Probation.
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of up to 120 days.
o     Comply with the conditions of the Home Confinement Program for a period of
      except for activities or employment as approved by the court or probation officer.
                                                                                                                months and remain at your residence


181 Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
      The defendant is required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the
      defendant's ability to pay.




                                                                                                                                       lOCR3749-BEN
